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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-290 (RBW)
                                     )
JEFFREY ALEXANDER SMITH,             )
                                     )
                  Defendant.         )
____________________________________ )

                                             ORDER

       Upon consideration of the Pretrial Violation Report and the Government’s Consent

Motion to Continue Sentencing Hearing, and for good cause shown, it is hereby

       ORDERED that the Government’s Consent Motion to Continue Sentencing Hearing,

ECF No. 28, is GRANTED. It is further

       ORDERED that, in light of the Pretrial Violation Report, ECF No. 27, the parties shall

appear for a status hearing on January 20, 2022, at 11:00 a.m., via videoconference. It is further

       ORDERED that the sentencing hearing currently scheduled for January 21, 2022, is

CONTINUED to February 21, 2022, at 10:30 a.m. The parties shall appear via

videoconference.

       SO ORDERED this 11th day of January, 2022.



                                                              ________________________
                                                              REGGIE B. WALTON
                                                              United States District Judge
